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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF ILLINOIS

IN THE MATTER OF:                                     )
                                                      )    Case No. 21-40413
JORDAN LOYDE SAYGE,                                   )
                                                      )    Chapter 13
                           Debtor.                    )
------------------------------------------------------)

     CREDITOR LYNDON SOUTHERN INSURANCE OBJECTION TO DEBOTR’S
                          AMENDED PLAN

        Comes Now Lyndon Southern Insurance (“Lyndon”), secured creditor in the above-styled

case, by and through its attorney, and for its Objection to Debtor’s Third Amended Plan states as

follows:

        1.       Debtor filed his Third Amended Plan on February 4th, 2022 (“Plan”) and objections

are due 21 days thereafter.

        2.       Pursuant to the Plan, Debtor values the collateral securing Lyndon’s claim at

$25,000.00 (2016 Keystone RV) and $48,000.00 (2017 Ford F-250) (collectively “Collateral”).

        3.       Debtor’s Plan proposes to pay Evansville Teachers Credit Union based upon the

aforementioned valuations.

        4.       Evansville Teachers Credit Union is not the secured creditor of these claims as these

claims were assigned to Lyndon on January 14, 2022 [DE 44]. Accordingly, Debtor’s Plan is

inaccurate with respect to payment of these secured claims.

        5.       Further, Debtor’s valuation of the Collateral is way understated as a used 2016

Keystone is at least valued at $45,000.00 and a used 2017 Ford F-250 is valued between

$53,000.00-$70,000.00 depending upon mileage. Based upon accurate valuations, Debtor would

need to make significantly larger payments in his plan and therefore Lyndon is not adequately

protected under the Plan.
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        6.     Accordingly, Debtor’s Plan does not conform with 11 USC §§ 1325 (5) and (6).

        WHEREFORE, Lyndon Southern Insurance prays that its objection be sustained, that

Debtor’s third amended plan not be confirmed and for such other and further relief as this Court

deems just and proper.



Dated: February 7, 2022                                Respectfully submitted,

                                              GREENSFELDER, HEMKER & GALE, P.C.

                                              By:       /s/ Randall F. Scherck
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                                              Attorney Creditor Lyndon Southern Insurance

                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 7th day February, 2022, a true and accurate
copy of the foregoing was filed electronically with the Clerk of the Court to be served by operation
of the Court’s electronic filing system upon all parties receiving electronic notice.

                                                    /s/ Randall F. Scherck

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